AO 72A
(Rev. 8/82)

 

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Iu the united States District Court
For the Southern District of Georgia
Wrunswick Division

CRYSTAL LEIGH WENTWORTH, *
*
Plaintiff, * CIVIL ACTION NO.:: 2:21-cv-55
*
Vv. *
*
SGT. JOSHUA BEAUCHAMP; OFFICER *
BARTCHLETT; OFFICER JOHN DOE; and *
JIM PROCTER, *
*
Defendants. *
ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 18. No party to this action filed
Objections to this Report and Recommendation.

Thus, the Court ADOPTS the Magistrate Judge’ s Report and
Recommendation as the opinion of the Court and DISMISSES
Plaintiff’s claims against Defendant John Doe for failure to
follow this Court’s Orders and failure to prosecute. The Court
also DIRECTS the Clerk of Court to enter the appropriate

judgment of dismissal in favor of Defendant Doe and DENIES

 
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Plaintiff in forma pauperis status on appeal.

SO ORDERED, this | aay of Doce unbo/ , 2021.

 

 

HON]. LIS CODBEY-WOSB—INDGE
UNITED STATES DISTRICT CO
SOUTH DISTRICT OF GEORGIA

 
